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UNITED sTATEs DISTRICr CoURT
MII)DLE Dls'rmcr oF FLoRn)A j '~,l,;; g i' 15 1
TAMPA DIVISION
JUDITH 1<, PE'm'r /\»
Plaimiff cAsE# X'.\“l¢-v owl v> ,E ,

_v. 3

u.s. BANK NA'noNAL AssoclATIoN
DBA ELAN FINANCIAL sEvacEs
Defendant(s)

COMPLAINT
l’laintii’f, JUDlTH K. PETIT'I` , individually, hereby sues Defendant(s), U.S. BANK
NATIONAL ASSOCIATION and ELAN FINANCIAL SERVICES for violations of the

Telephone Conswner Protection Act (TCPA) se¢. 227., 47 Usc § 227(b)(1), 47 USC § 227(a)
(iii).

PRELIMINARY STATEMENT
l. This is an action for damages and injunctive relief brought by Plaintiff against
Defendants for violations of the Telephone Consumer Protection Act (TCPA) Sec. 227., 47 USC
§ 227(b)( l), 47 USC § 227(a) (iii)
2. Upon belief and information, Plaintiff contends that many of these practices are
widespread for some or all of the Defendants. Plaintitf intends to propound discovery to

Defendants identifying these other individuals who have suffered similar violations

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3. Plaintiff contends that U.S.BANK NATIONAL ASSOCIATION, DBA ELAN

FINP?NCIAL SERVICES, Defendants have violated such laws by repeatedly harassing Plaintiff

in attiempts to collect alleged but nonexistent debt.

U.S.C

JURISDICTION AND VENUE
4. Jurisdiction of this Court arises under 15 U.S.C. §l681p, 47 U.S.C. §227(b)(3), 15

!.§1692k(d), Fla. Stat. §47.051, and supplemental jurisdiction exists for the state law

claims pursuant to 28 U.s.c. §1367.

5. Venue is proper pursuant to 28 U.S.C. §139lb and Fla. Stat. §559.77. Venue in this

Disuili:t is proper in that the Plaintiff resides here, the Defendants transact business here, and the

conduct complained of occurred here.

1 6. This is an action for damages which exceed $15,000.00.
PARTIES

7. Plaintiff, JUDITH K. PETI'I'I`, is a natural person and is a resident of the State of

FLOFUDA.

DBA

8. Upon information and belief Defendants, U.S.BANK NATIONAL ASSOCIATION

ELAN FINANCIAL SERVIECS (“HERE AFTER CALLED ELAN”) is a foreign

corporation, authorized to do business in Florida.

FACTUAL ALLEGATIONS

 

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9. From November 1st 2013 thru April ls‘ 2014, ELAN violated the TCPA by calling
Plaintifi’s cell phone 40 times with no prior permission given by Plaintiff in attempting to collect

an alleged but nonexistent debt.

CfDUNT l
VIOLATIONS OF THE TELEPHONE
COMMUNICATIONS ACT47 U.S.C. §227

10. Plainti&` alleges and incorporates the information in paragraphs l through 9.

ll. Defendant ELAN has demonstrated willful or knowing non-compliance with 47
U.S.C. §227(b)(1)(A) by using an automatic telephone dialing system to call the Plaintifl`s
number(727~455-9793), which is assigned to a cellular telephone service.

12. Defendant ELAN has committed 40 separate violations of 47 U.S.C. §227(b)( l)(A)
and Plaintiff is entitled to damages of $1500 per violation pursuant to 47 U.S.C. §227(b)(3)(B).

13. Defendant ELAN has demonstrated willful or knowing non-compliance with 47
U.S.C. §227(b)(1)(A) The 40 calls are subject to treble damages pursuant to 47 U.S.C.
§227(b)(3) as they were intentional. Plaintiff spoke with ELAN on the very first call and advised
ELAN that the person they were trying to reach was not at this number (727-455-9793) and that
they were calling the wrong cell phone number, Two additional times on two different phone
calls PLAINTIFF told ELAN that the person they were trying to reach was not at this number
(727-`455-9793) and they had the wrong cell phone. An unintentional call carries a damage
amount of $500; an intentional call carries a damage amount of $l ,500 per violation.

14. Defendant ELAN has demonstrated willful or knowing non-compliance with 47

U.S.C. §227(b)(1)(A) by calling the Plainti&’s number, which is assigned to a cellular telephone

service

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The Plaintiff has never given ELAN permission to call Plaintiffs cell phone. Plaintiff is

entitledl to damages of 31500 per violation pursuant to 47 U.S.C. §227(b)(3)(B). Plaintiff and

ELAN

u.s.c. `

do not have an established business relationship within the meaning of 47 U.S.C. §227.
15. Defendant ELAN has demonstrated willful or knowing non-compliance with 47

§227(b)(l)(A) by continuing to call Plaintiff 30 times after receiving the intent to sue

letter with total disregard and in violation of 47 u.s.c. §227.

NATIC

WHEREFORE, Plaintiff demands judgment for damages against U.S. BANK
lNAL ASSOCIATION, and ELAN for actual or statutory damages, and punitive
, attomey's fees and costs, pursuant to Fla. Stat. §559.77.

COUNT II

VIO]LATION OF FAIR DEBT COLLECTION PRACTICES ACT (FDCPA), 15 U. S. C.

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l692 BY DEFENDANTS U. S. BANK NATIONAL ASSOCIATION AND ELAN
FINANCIAL SERVICES

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16. Plaintiff alleges and incorporates the information in paragraphs l through 15.
l7. ELAN placed no less than 26 telephone calls to the Plaintiff’s cellular telephone

5-9793) after receipt of Plaintiff’s NOTlCE OF INTENT TO LITIGATE letter.

Defendant knew or should have known that the phone calls made were inconvenient to the

consumer. Such communications are prohibited by 15 U.S.C. § l6920(a)(l). Defendant demands

$1000.

(727-4f

18. ELAN placed no less than 20 telephone calls to the Plaintiff’ s cellular telephone

5-9793) after receiving written NOTICE OF INTENT TO LITIGATE from the PlaintiH`.

Pursuant to 15 U.S.C. § l6920(c), if such notice from the consumer is made by mail, notification

shall be

complete upon receipt. This clearly demonstrates willful violation of U.S.C. §1692c.

Defendant demands $lOOO.

 

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19. Defendants U.S.BANK NATIONAL ASSOCIATION and ELAN continued
collection activity alter receiving NOTICE OF PENDING LAWSUIT and used false, deceptive
or misleading representation or means in connection with debt collection, in violation of 15
U.S.C.§1692e. Defendant demands $1000.

` 20. Defendants U.S.BANK NATIONAL ASSOCIATION AND ELAN violated §1692e
(10) by the use of any false representation or deceptive means to collect or attempt to collect any
debt ar to obtain information concerning a consumer. Plaintiff demands judgment in the amount
of$l(\oo.

WHEREFORE, Plaintiff demands judgment for damages against U.S.BANK
NATIONAL ASSOCIATION AND ELAN for actual or statutory damages, and punitive

damages, attorney's fees and costs, pursuant to Fla. Stat. §559.77.

C(DUNT III

VIO] sATlON OF FLORIDA CONSUMER COLLECTION PRACTICES ACT (FCCPA),
FLA . STAT. §559(Part VI) BY DEFENDANTS U.S.BANK NATIONAL ASSOCIATION
AND ELAN FINANCIAL SERVICES

21. Plaintiff alleges and incorporates the information in paragraphs l through 20.
22. Plaintiff is a consumer within the meaning of §559.55(2).

23. U.S.BANK NATIONAL ASSOCIATION AND ELAN FINANCIAL SERVICES are

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debt collectors within the meaning of §559.55(6).

- 24. U.S.BANK NATIONAL ASSOCIATION violated §559.72(7) by willfully
communicating with Plaintili` with such frequency as could reasonably be expected to

harass Plainnrr. Defendant demands $1000.00.
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‘ 25. ELAN FINANCIAL sERvIcEs violated §559.72(7) by willfully communicating
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with Pllaintiff with such frequency as could reasonably be expwted to harass Plaintifi`. Defendant

deman $1000.00

l26. ELAN FINANCIAL SERVICES violated §559.72(15) by refusing to provide

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adeq te identification of herself or himself or her or his employer or other entity whom she or

 

nts when requested to do so by a debtor from whom she or he is collecting or

attcmp g to collect a consumer debt. Defendant demands $1000.
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ltvnEREFoRE, Plaintirf demands judgment for damages against U.s.BANK
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NATIO \JAL ASSOCIATION AND ELAN FINANCIAL SERVICES for actual or statutory

damages, and punitive damages, attomey's fees and costs, pursuant to Fla. Stat. §559.77.
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l DEMAND FOR JURY TRIAL

 

lilaintiff hereby demands a trial by jury of all issues so triable as a matter of law.

Respectii lilly submitted this j ff§s'_of APRIL, 2014
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JUDITH . PETI

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